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                         IN THE UNITED STATES DISTRICT COURT

                                 FOR THE DISTRICT OF ALASKA

 KOMET BEING, et al.,
                                                          Case No. 3:19-cv-00060-HRH
                           Plaintiffs,

                  v.

 ADAM CRUM, et al.,

                           Defendants.


JOINT MOTION FOR ENTRY OF STIPULATED SETTLEMENT AGREEMENT
                        AND ORDER




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        In light of the parties having reached a joint resolution which resolves all claims in

the above-captioned case, Plaintiffs Komet (“Swan”) Being, Robin Black, and Austin

Reed (collectively, “Plaintiffs”) and Defendants Adam Crum, in his official capacity as

Commissioner of the Alaska Department of Health and Social Services, and the Alaska

Department of Health and Social Services (collectively, “Defendants”), respectfully

move the Court to enter their proposed Stipulated Settlement Agreement and Order

(attached hereto as Exhibit A), and in support thereof, state as follows:

        1.       On March 4, 2019, Ms. Being filed a Class Action Complaint against

Defendant Adam Crum, in his official capacity as Commissioner of the Alaska

Department of Health and Social Services. On January 8, 2020, Ms. Being, Ms. Black,

and Mr. Reed filed their First Amended Class Action Complaint against Defendant Crum

and Defendant Alaska Department of Health and Social Services. On August 24, 2020,


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Plaintiffs filed their Second Amended Class Action Complaint. Plaintiffs sought to

enjoin enforcement of 7 Alaska Administrative Code (“AAC”) 105.110(12) and 7 AAC

110.405(d)(5), and any other source of law, regulation, policy, or practice that denies

treatment for gender dysphoria to Alaska Medicaid recipients (the “Challenged

Regulations”).

        2.       Plaintiffs alleged that the Challenged Regulations violate the Equal

Protection Clause of the Fourteenth Amendment to the U.S. Constitution by subjecting

transgender beneficiaries of Alaska Medicaid to unlawful discrimination on the basis of

transgender status and sex; Section 1557 of the Affordable Care Act, 42 U.S.C. § 18116,

by subjecting transgender beneficiaries of Alaska Medicaid to unlawful discrimination on

the basis of sex in a health program or activity receiving federal funding; the Medicaid

Act’s Availability Requirements, 42 U.S.C. § 1396a(a)(10)(A); and the Medicaid Act’s

Comparability Requirements, 42 U.S.C. § 1396a(a)(10)(B).

        3.       The parties desire to resolve the issues raised in Plaintiffs’ complaint

without the necessity of further litigation.

        4.       The parties consent to entry of the attached proposed Stipulated Settlement

Agreement and Order as dispositive of all issues raised in this matter.

        5.       The Stipulated Settlement Agreement and Order will be binding on

Defendant Crum in his official capacity and on any successor to the position of

Commissioner of the Alaska Department of Health and Social Services. Nothing in this

Agreement precludes the Department from taking additional action to amend or change

state statute or regulations so long as those changes are made pursuant to the

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Administrative Procedure Act. Nothing in this Agreement precludes plaintiffs or counsel

for plaintiffs from challenging any statutory, regulatory, or programmatic changes made

in the future.

        WHEREFORE, in light of the parties’ agreement regarding this matter, the parties

respectfully request that this Court enter the attached Stipulated Settlement Agreement

and Order.

Dated: December 22, 2020                                  Respectfully submitted,

 /s/ Carl S. Charles                    .                 Nora W. Huppert (admitted pro hac
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